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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
)
LEASE AMERICA.ORG, INC., )
)
Plaintiff, )
) Case No: 1:15-cv-348
v. )
)
ROWE INTERNATIONAL \ HON. JANET T. NEFF
CORPORATION, et al., )
)
Defendants. )
)

 

JOINT STIPULATION OF DISMISSAL

It is hereby stipulated by and among Plaintiff Lease America.org, Inc. (“Lease
America”), Defendants Rowe International Corporation and AMI Entertainment Network, Inc.,
and Defendant Amusement and Music Operators Association, Inc. (collectively, “the Parties”),
that Lease America’s claims in the above-captioned action are hereby dismissed with prejudice
pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)\(ii). Each party shall bear its own

attorneys’ fees and costs incurred herein.
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Respectfully submitted, am
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